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                                                                      1   Daniel A. Lev (CA Bar No. 129622)
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                                                                      2   SulmeyerKupetz
                                                                          A Professional Corporation
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                                                                          Facsimile: 213.629.4520
                                                                      5
                                                                          Attorneys for Howard M. Ehrenberg, Chapter 7 Trustee
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                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                      8
                                                                                  CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION
                                                                      9

                                                                     10
                                                                          In re                                        Case No. 1:17-bk-10378-VK
  Professional Corporation




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                                                                          KANDY KISS OF CALIFORNIA, INC.,              Chapter 7
                                                                     12
                                                                                                                       CHAPTER 7 TRUSTEE'S MOTION FOR
                                                                     13                   Debtor.                      ORDER AUTHORIZING COMPROMISE
                                                                                                                       OF CONTROVERSY RE PROVINCE,
                                                                     14                                                INC. PURSUANT TO RULE 9019 OF THE
                                                                                                                       FEDERAL RULES OF BANKRUPTCY
SulmeyerKupetz, A




                                                                     15                                                PROCEDURE; MEMORANDUM OF
                                                                                                                       POINTS AND AUTHORITIES;
                                                                     16                                                DECLARATION OF HOWARD M.
                                                                                                                       EHRENBERG IN SUPPORT THEREOF
                                                                     17
                                                                                                                       DATE: March 26, 2020
                                                                     18                                                TIME:  2:00 p.m.
                                                                                                                       PLACE: Courtroom “301”
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                                                                      1   TO THE HONORABLE VICTORIA KAUFMAN, UNITED STATES BANKRUPTCY
                                                                      2   JUDGE, THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE,
                                                                      3   CREDITORS, AND INTERESTED PARTIES:
                                                                      4                                             MOTION
                                                                      5                   Through his “Chapter 7 Trustee’s Motion for Order Authorizing Compromise
                                                                      6   of Controversy Re Province, Inc. Pursuant to Rule 9019 of the Federal Rules of
                                                                      7   Bankruptcy Procedure; Memorandum of Points and Authorities; Declaration of Howard M.
                                                                      8   Ehrenberg in Support Thereof” (the “Motion”), Howard M. Ehrenberg (the “Trustee”), the
                                                                      9   duly appointed, qualified, and acting chapter 7 trustee for the estate of the debtor Kandy
                                                                     10   Kiss of California, Inc. (the “Debtor”) hereby seeks, among other things, an order
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                                                                     11   authorizing and approving, pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy
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                                                                     12   Procedure, and Local Bankruptcy Rule 9013, that certain “Settlement Agreement and
                                                                     13   Mutual General Release” (the “Agreement”) by and between the Trustee, on the one
                                                                     14   hand, and Province, Inc., a Nevada corporation (“Province”), on the other hand, pursuant
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                                                                     15   to which the parties have agreed to compromise the disputes between the Trustee and
                                                                     16   Province, the Debtor’s pre-petition and former assignee for the benefit of creditors. In
                                                                     17   sum, according to the Agreement, Province shall pay the Trustee the total sum of
                                                                     18   $100,000 from the $346,350.33 fee Province contends it earned and is entitled to retain
                                                                     19   pursuant to the terms of the general assignment between Province and the Debtor. A
                                                                     20   true and correct copy of the Agreement is attached hereto as Exhibit “A” and incorporated
                                                                     21   herein by reference.
                                                                     22                   This Motion is made and based upon the moving papers, the attached
                                                                     23   Memorandum of Points and Authorities and the supporting Declaration of Howard M.
                                                                     24   Ehrenberg, the pleadings filed in the Debtor’s case, all judicially noticeable facts, the
                                                                     25   arguments and representations of counsel, and any oral or documentary evidence
                                                                     26   presented at the time of the hearing.
                                                                     27                   WHEREFORE the Trustee respectfully requests that the Court enter an
                                                                     28   order:


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                                                                      1                   (1)   granting this Motion;
                                                                      2                   (2)   authorizing and approving the Agreement pursuant to Rule 9019(a)
                                                                      3   of the Federal Rules of Bankruptcy Procedure; and
                                                                      4                   (3)   granting such other and further relief as this Court deems just and
                                                                      5   proper under the circumstances.
                                                                      6   DATED: February 26, 2020                SulmeyerKupetz
                                                                                                                  A Professional Corporation
                                                                      7

                                                                      8

                                                                      9                                           By: /s/ Daniel A. Lev
                                                                                                                      Daniel A. Lev
                                                                     10                                               Attorneys for Howard M. Ehrenberg, Chapter 7
                                                                                                                      Trustee
  Professional Corporation




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                                                                      1                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                                      2                                                 I.
                                                                      3                                   PREFATORY STATEMENT
                                                                      4                   The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157
                                                                      5   and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue
                                                                      6   of this proceeding and this Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                                      7   The statutory predicate for the relief sought herein is 11 U.S.C. §§ 105(a) and Rule
                                                                      8   9019(a) of the Federal Rules of Bankruptcy Procedure.
                                                                      9                                                 II.
                                                                     10                              SUMMARY OF REQUESTED RELIEF
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                                                                     11                   On January 16, 2017, prior to the commencement of an involuntary petition
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                                                                     12   against the Debtor, the Debtor executed an “Assignment for the Benefit of Creditors” in
                                                                     13   favor of Province, as assignee, dated January 16, 2017. The next day, Province and Zita
                                                                     14   Apparel, Inc., a California corporation (“Zita”) entered into that certain “Asset Purchase
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                                                                     15   Agreement” (the “Zita Purchase Agreement”), pursuant to which, among other things, Zita
                                                                     16   acquired certain assets of the Debtor’s assignment estate for the total purchase price of
                                                                     17   $350,000. Province contends that, pursuant to the terms of general assignment
                                                                     18   documents, it earned a fee of $346,350.33.
                                                                     19                   After investigating and analyzing the general assignment documents and
                                                                     20   the Zita transaction, the Trustee determined that there were grounds to recover a portion
                                                                     21   of the Province fee. However, rather than commence a formal adversary proceeding, the
                                                                     22   Trustee and Province engaged in negotiations in an effort to resolve the Trustee’s
                                                                     23   concerns with respect to the fee. As a result of these discussions, the Trustee and
                                                                     24   Province now have entered into a formal settlement agreement according to which
                                                                     25   Province shall pay the estate $100,000 of the $346,350.33 being held by Province. The
                                                                     26   parties will also exchange limited releases. The Trustee now seeks approval of the
                                                                     27   compromise embodied in the settlement agreement, as it is his belief that the settlement
                                                                     28   satisfies each of the prerequisites adopted by the Ninth Circuit.


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                                                                      1                                                 III.
                                                                      2                                   RELEVANT BACKGROUND
                                                                      3                   As noted, Province was the assignee for the benefit of creditors of the
                                                                      4   Debtor pursuant to an “Assignment for the Benefit of Creditors” (the “General
                                                                      5   Assignment”) executed by and between the Debtor, as assignor, and Province, as
                                                                      6   assignee, dated January 16, 2017. On January 17, 2017, Province, as assignee and
                                                                      7   seller, and Zita, as buyer, entered into the Zita Purchase Agreement, pursuant to which,
                                                                      8   among other things, Zita acquired a sub-set of assets of the Debtor’s assignment estate
                                                                      9   for the sum of $350,000. Subsequent to the execution of the Zita Purchase Agreement,
                                                                     10   Province and Zita consummated the transaction set forth in the Zita Purchase
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                                                                     11   Agreement.
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                                                                     12                   Shortly thereafter, on February 14, 2017, petitioning creditors Apex
                                                                     13   Logistics International LAX Inc., High Hope Trading (HK) Limited, IDFIX, Inc., Kucuhead,
                                                                     14   Shol Inc., Texking Trading Ltd., Tu Pacific, LLC, and RM Global LLC (the “Petitioning
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                                                                     15   Creditors”), filed an involuntary petition for relief against the Debtor under chapter 7 of
                                                                     16   title 11 of the United States Code (the “Bankruptcy Code”) commencing this case (the
                                                                     17   “Case”) in the United States Bankruptcy Court for the Central District of California, San
                                                                     18   Fernando Valley Division (the “Bankruptcy Court”). On March 14, 2017, creditor RM
                                                                     19   Global Textile Inc. filed a joinder to the involuntary as an additional petitioning creditor
                                                                     20   [Docket No. 20]. As a result, on February 15, 2017, the clerk of the court issued an
                                                                     21   involuntary summons [Docket No. 3].
                                                                     22                   On March 8, 2017, Province filed a motion to dismiss the Case (the “Motion
                                                                     23   to Dismiss”) [Docket No. 16]. On April 7, 2017, the Petitioning Creditors filed an
                                                                     24   opposition to the Motion to Dismiss [Docket No. 30]. On May 8, 2017, the Court entered
                                                                     25   an order denying, in part, the Motion to Dismiss [Docket No. 46]. On May 31, 2017, the
                                                                     26   Court entered a scheduling order regarding the remaining issues in the Motion to Dismiss
                                                                     27   [Docket No. 51]. On September 13, 2017, the Debtor and Province filed their consent to
                                                                     28


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                                                                      1   entry of an order for relief in this Case [Docket No. 61]. On September 19, 2017, the
                                                                      2   Court entered its “Order for Relief” (the “Order for Relief”) [Docket No. 62].
                                                                      3                   On September 21, 2017, the Office of the United States Trustee (the
                                                                      4   “OUST”) appointed David K. Gottlieb (the “Predecessor Trustee”) as the interim chapter 7
                                                                      5   trustee in the Case in accordance with 11 U.S.C. § 701(a) [Docket No. 68]. On October
                                                                      6   4, 2017, the Predecessor Trustee filed a “Supplemental Statement of Disinterestedness”
                                                                      7   (the “Supplement”) pursuant to which the Predecessor Trustee disclosed that he
                                                                      8   subleased certain office space from Province, the aforementioned assignee.
                                                                      9                   On October 6, 2017, at the initial Section 341(a) creditor’s meeting, the
                                                                     10   Petitioning Creditors unanimously elected Howard M. Ehrenberg (the “Trustee”) as the
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                                                                     11   trustee in accordance with 11 U.S.C. § 702. Accordingly, on October 12, 2017, the
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                                                                     12   OUST filed its “Report of Disputed Election of Trustee” (the “OUST Report”). Pursuant to
                                                                     13   Rule 2003(d)(2) of the Federal Rules of Bankruptcy Procedure, a motion for the
                                                                     14   resolution of the dispute was required to be filed no later than fourteen days following the
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                                                                     15   date of the OUST Report. On October 26, 2017, the Petitioning Creditors timely caused
                                                                     16   to be filed their “Notice of Motion and Motion of Voting Creditors to (1) Certify Election of
                                                                     17   Howard M. Ehrenberg as Chapter 7 Trustee, or (2) Remove David K. Gottlieb From
                                                                     18   Acting As Chapter 7 Trustee” (the “Resolution Motion”) [Docket No. 87]. The Resolution
                                                                     19   Motion sought to certify the Trustee as the permanent trustee based upon the results of
                                                                     20   the election held on October 12, 2017. Rather than contest the Resolution Motion,
                                                                     21   thereby causing further delay to creditor recovery, the Predecessor Trustee elected to
                                                                     22   withdraw without conceding any of the allegations of the Resolution Motion. As such, on
                                                                     23   November 3, 2017, the Predecessor Trustee filed his “Notice of Withdrawal of
                                                                     24   Appointment of Trustee” [Docket No. 90].
                                                                     25                   As a result, on November 6, 2017, the OUST filed its “Status Report of
                                                                     26   United States Trustee on Report of Disputed Election” (the “Status Report”) [Docket No.
                                                                     27   92]. In the Status Report, the OUST indicated that, in light of the Predecessor Trustee’s
                                                                     28   withdrawal, the OUST would proceed with the appointment of the Trustee as the


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                                                                      1   permanent trustee. On the same day - November 6, 2017 - notice of the Trustee’s
                                                                      2   appointment and qualification under 11 U.S.C. § 322 was filed by the OUST [Docket No.
                                                                      3   93].
                                                                      4                   As noted earlier, subsequent to the Trustee’s appointment, Province
                                                                      5   remitted the balance of funds from the Debtor’s assignment estate to the Trustee,
                                                                      6   provided, however, that Province withheld the total amount of $346,350.33 in its trust
                                                                      7   account which Province argued represented the fee due and owing to Province pursuant
                                                                      8   to the General Assignment (the “General Assignment Fee”). Specifically, pursuant to the
                                                                      9   General Assignment, the Debtor agreed as follows: that the term “a reasonable fee to
                                                                     10   Assignee” is defined as, and includes, the following:
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                                                                     11                   (a) an administration fee computed on the basis of the total
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                                                                     12                   monies distributed in connection with the General
                                                                     13                   Assignment and for the assembly, inventorying, collection,
                                                                     14                   and liquidation of the assets assigned, in accordance with
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                                                                     15                   the following schedule, to wit: an initial retainer of $35,000,
                                                                     16                   and a fee of 15% total monies distributed shall apply; (b) the
                                                                     17                   reimbursement of all expenses incurred as a result of
                                                                     18                   Province’s administration out of the proceeds generated
                                                                     19                   therefrom; (c) a further fee equal to any and all interest
                                                                     20                   earned and received by Province on any trust and other
                                                                     21                   funds in its hands and arising from the General Assignment;
                                                                     22                   and (d) in addition to all of the foregoing, when applicable, in
                                                                     23                   the opinion of the Board of Directors of Province, an
                                                                     24                   additional and reasonable fee may be taken for special,
                                                                     25                   unusual, or extraordinary services actually performed by
                                                                     26                   Province in connection with the operation, management,
                                                                     27                   preservation, or administration of the property of the Debtor’s
                                                                     28                   assignment estate, and, in this connection the Board of


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                                                                      1                   Directors of Province, or the President of Province, is given
                                                                      2                   the right and discretion to determine the nature and extent of
                                                                      3                   such special, unusual, or extraordinary services, and the
                                                                      4                   amount of additional fees in connection therewith.
                                                                      5                   Moreover, the General Assignment further provides that the fees due and
                                                                      6   owing to Province shall be paid from the property assigned, and from all of the proceeds
                                                                      7   thereof and from any interest, income, and increments and any additions thereto.
                                                                      8                   The Trustee investigated the terms of the General Assignment, the Zita
                                                                      9   Purchase Agreement, and Province’s contentions regarding the services it provided and
                                                                     10   the computation of the General Assignment Fee, and, based on his investigation, the
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                                                                     11   Trustee believed that there were grounds to seek a recovery of a portion of the
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                                                                     12   $346,350.33 fee. However, rather than expend limited estate resources to formally seek
                                                                     13   a recovery of the disputed portion of the General Assignment Fee, the Trustee and
                                                                     14   Province engaged in good faith and constructive negotiations to resolve the Trustee’s
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                                                                     15   disputes.
                                                                     16                   In sum, in order to avoid the uncertainties and expense of litigation, the
                                                                     17   Trustee and Province have agreed that Province shall return the sum of $100,000 to the
                                                                     18   Trustee, retaining the sum of $246,350.33 in full and final satisfaction of its General
                                                                     19   Assignment Fee. The proposed settlement eliminates the need for any litigation
                                                                     20   regarding the General Assignment Fee, and, as such, the Trustee believes the
                                                                     21   Agreement should be approved by the Court.1
                                                                     22

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                                                                          1
                                                                           The foregoing is merely a summary of the salient terms of the Agreement, a true and correct copy of
                                                                     27   which is attached hereto as Exhibit “A” and incorporated herein by reference. Interested parties are
                                                                          encouraged to read the Stipulation in its entirety.
                                                                     28


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                                                                      1                                                   IV.
                                                                      2     THE COURT SHOULD APPROVE THE AGREEMENT UNDER RULE 9019 OF THE
                                                                      3                          FEDERAL RULES OF BANKRUPTCY PROCEDURE
                                                                      4                    Rule 9019 of the Federal Rules of Bankruptcy Procedure provides, in
                                                                      5   relevant part:
                                                                      6                    (a)    On motion by the trustee and after notice and a
                                                                      7                    hearing, the court may approve a compromise or settlement.
                                                                      8                    Notice shall be given to creditors, the United States trustee,
                                                                      9                    the debtor, and indenture trustees as provided in Rule 2002
                                                                     10                    and to any other entity as the court may direct.
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                                                                     11   Fed. R. Bankr. P. 9019(a).
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                                                                     12                    The Ninth Circuit has long recognized that “[t]he bankruptcy court has great
                                                                     13   latitude in approving compromise agreements”. In re Woodson, 839 F.2d 610, 620 (9th
                                                                     14   Cir. 1988). “The purpose of a compromise agreement is to allow the [chapter 7 trustee]
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                                                                     15   and the creditors to avoid the expenses and burdens associated with litigating sharply
                                                                     16   contested and dubious claims”. In re A&C Properties, Inc., 784 F.2d 1377, 1380-81 (9th
                                                                     17   Cir. 1986). Accordingly, in approving a settlement agreement, the court need not conduct
                                                                     18   an exhaustive investigation of the claims sought to be compromised. See In re Walsh
                                                                     19   Constr., Inc., 669 F.2d 1325, 1328 (9th Cir. 1982). Rather, it is sufficient that the court
                                                                     20   find that the settlement was negotiated in good faith and is reasonable, fair, and
                                                                     21   equitable. See A&C Properties, 784 F.2d at 1381; see also In re Am. Bldg. Storage, 285
                                                                     22   Fed. Appx. 375 (9th Cir. 2008).
                                                                     23                    Consideration of a settlement does not require the court to determine
                                                                     24   whether a settlement presented is the best one that could possibly have been achieved.
                                                                     25   Instead, the court need only canvass the issues to determine whether the settlement falls
                                                                     26   “below the lowest point in the zone of reasonableness”. Newman v. Stein, 464 F.2d 689,
                                                                     27   698 (2d Cir. 1972) (emphasis added); see also In re Teltronics Services, Inc., 762 F.2d
                                                                     28   185, 189 (2d Cir. 1985); In re W.T. Grant Co., 699 F.2d 599, 608 (2d Cir. 1983), cert.


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                                                                      1   denied, 464 U.S. 822, 104 S. Ct. 88, 78 L. Ed. 2d 96 (1985). Finally, although the court
                                                                      2   should give deference to the reasonable views of creditors, “objections do not rule. It is
                                                                      3   well established that compromises are favored in bankruptcy”. In re Lee Way Holding
                                                                      4   Co., 120 B.R. 881, 891 (Bankr. S.D. Ohio 1990).
                                                                      5                   Traditionally, in evaluating whether to approve a compromise, courts in the
                                                                      6   Ninth Circuit must consider the following:
                                                                      7                   (a)    The probability of success in litigation;
                                                                      8                   (b)    the difficulties, if any, to be encountered in the matter of collection;
                                                                      9                   (c)    the complexity of the litigation involved and the expense,
                                                                     10   inconvenience and delay necessarily attending it; and
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                                                                     11                   (d)    the paramount interest of the creditors and a proper deference to
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                                                                     12   their reasonable views.
                                                                     13   A&C Properties, 784 F.2d at 1381.
                                                                     14                   In considering these factors, courts are guided by two principles. First, as
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                                                                     15   noted earlier, “the law favors compromise”. In re Blair, 538 F.2d 849, 851 (9th Cir. 1976).
                                                                     16   Compromises are favored in bankruptcy, and have become “a normal part of the process
                                                                     17   of reorganization”. Protective Committee for Independent Stockholders of TMT Trailer
                                                                     18   Ferry Inc. v. Anderson, 390 U.S. 414, 424, 88 S. Ct. 1157, 20 L. Ed. 2d 1 (1968) (quoting
                                                                     19   Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130, 60 S. Ct. 1, 84 L. Ed. 110
                                                                     20   (1939)). Second, as highlighted earlier, a compromise should be approved unless it
                                                                     21   “fall[s] below the lowest point in the range of reasonableness”. W.T. Grant, 699 F.2d at
                                                                     22   608. As the court in W.T. Grant aptly commented:
                                                                     23                   [The] responsibility of the bankruptcy judge, and ours upon
                                                                     24                   review, is not to decide the numerous questions of law and
                                                                     25                   fact raised by the appellants but rather to canvass the issues
                                                                     26                   and see whether the settlement ‘fall[s]’ below the lowest
                                                                     27                   point in the range of reasonableness. . .
                                                                     28   Id., at 608.


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                                                                      1                   Under express provisions of the Bankruptcy Code, a trustee is vested with
                                                                      2   the standing and authority to seek compromises of legal and factual disputes. As such,
                                                                      3   settlements which have been negotiated by a trustee are entitled to deference. See In re
                                                                      4   Morrison, 69 B.R. 586, 592 (Bankr. E.D. Pa. 1987) (objecting creditors may not substitute
                                                                      5   their judgment for that of the trustee). Moreover, when considering these factors, the
                                                                      6   court need only canvass the issues, “a mini trial on the merits is not required”. Burton v.
                                                                      7   Ulrich (In re Schmitt), 215 B.R. 417, 423 (B.A.P. 9th Cir. 1997).
                                                                      8                   Here, despite the fact that each of the four A&C Properties factors are not
                                                                      9   necessarily implicated by the compromise with Province, the Trustee believes that the
                                                                     10   terms of the proposed Agreement are fair, reasonable, and in the best interests of the
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                                                                     11   Debtor’s creditors and estate for several reasons.
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                                                                     12                   A.     The Probability of Success in Litigation
                                                                     13                   The first factor to evaluate whether a settlement is fair and equitable is the
                                                                     14   probability of success in the litigation. A&C Properties, 784 F.2d at 1381. A precise or
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                                                                     15   exact judicial determination of the likely outcome is not required because that would
                                                                     16   defeat the purpose of compromising the litigation. In re Telesphere Communications,
                                                                     17   Inc., 179 B.R. 544, 553 (Bankr. N.D. Ill. 1994); In re Energy Coop., Inc., 886 F.2d 921,
                                                                     18   929 (7th Cir. 1989) (quoting In re Penn Central Transp. Co., 596 F.2d 1102, 1114 (3d Cir.
                                                                     19   1979)). In the Ninth Circuit a bankruptcy court need not conduct an exhaustive
                                                                     20   investigation into the validity of the asserted claim, but rather ‘[i]t is sufficient that, after
                                                                     21   apprising itself of all facts necessary for an intelligent and objective opinion concerning
                                                                     22   the claim’s validity, the court determines that either (1) the claim has a ‘substantial
                                                                     23   foundation’ and is not ‘clearly invalid as a matter of law,’ or (2) the outcome of the claim’s
                                                                     24   litigation is doubtful”. United States of America v. Alaska National Bank (Matter of Walsh
                                                                     25   Constr., Inc.), 669 F.2d 1325, 1328 (9th Cir. 1982).
                                                                     26                   The Ninth Circuit cited Walsh approvingly in A&C Properties, noting that the
                                                                     27   purpose of a compromise agreement is to allow the trustee and creditors “to avoid the
                                                                     28   expenses and burdens associated with litigating sharply contested and dubious claims”,


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                                                                      1   and that the “law favors compromise and not litigation for its own sake”. Blair, 538 F.2d
                                                                      2   at 851.
                                                                      3                   Here, the Trustee contends, without limitation, that the settlement is fair and
                                                                      4   reasonable, in the best interests of the estate, and made according to the Trustee’s
                                                                      5   sound business judgment. Specifically, the Trustee contends, without limitation, that
                                                                      6   based on the limited amount of services Province provided, and the subsequent series of
                                                                      7   events leading to the Trustee’s appointment, Province was not entitled to an earned fee
                                                                      8   of $346,350.33. Province disputes the Trustee’s contentions and asserts that the
                                                                      9   General Assignment Fee is contractual in nature, is reasonable and appropriate based on
                                                                     10   the services rendered by Province as assignee, and the fee was accurately calculated
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                                                                     11   according to the terms of the General Assignment documents. While the Trustee was
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                                                                     12   confident in his position, given the defenses being asserted by Province, the costs of
                                                                     13   commencing and prosecuting an action through trial would be cost-prohibitive.
                                                                     14                   In satisfying this first element of the four-part A&C Properties test, the
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                                                                     15   burden is not on a trustee to conclusively establish that a defendant would be successful
                                                                     16   at a trial on the issues raised in an action, as that would defeat the purpose of settlement
                                                                     17   and would eliminate any cost savings from the settlement. Rather, all that a trustee is
                                                                     18   required to demonstrate is that, to the reasonable satisfaction of the court, all things
                                                                     19   being considered, it is prudent to eliminate the risks of litigation to achieve specific
                                                                     20   certainty, though it might be considerably less, or more, than were the case fought to the
                                                                     21   bitter end. See In re Aloha Racing Foundation, Inc., 257 B.R. 83 (Bankr. N.D. Ala. 2000).
                                                                     22                   In fact, at least one court has found that a settlement reached by a trustee
                                                                     23   could be approved even after the court had decided to rule for the trustee on a contested
                                                                     24   matter. See In re Dalen, 259 B.R. 586 (Bankr. W.D. Mich. 2001). In Dalen, the trustee
                                                                     25   sought approval of a settlement after the court had already decided to rule for the trustee,
                                                                     26   such that the estate would have profited if the settlement were rejected. The ultimate
                                                                     27   issue for the court, however, was whether the trustee exercised reasonable judgment in
                                                                     28   entering into the settlement based upon information then in her possession. As long as


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                                                                      1   the court is able to make this determination, and finds that the trustee has fulfilled her
                                                                      2   fiduciary duty to the estates, the fact that creditors are objecting to the settlement is
                                                                      3   irrelevant to the court’s determination under Rule 9019(a).
                                                                      4                   Here, there is no question that the Trustee has fulfilled his fiduciary duties
                                                                      5   to the estate by not only aggressively pursuing the recovery of a portion of the General
                                                                      6   Assignment Fee, but by entering into the Agreement. In light of the fact that the Trustee
                                                                      7   will receive significant funds through the settlement, it cannot be said that the Trustee has
                                                                      8   not acted in the best interests of the estate. This settlement will benefit the estate and
                                                                      9   the remaining creditors and will end a potentially costly contested matter.
                                                                     10                   B.     The Difficulties, if any, to be Encountered in the Matter of
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                                                                     11                          Collection
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                                                                     12                   Of obvious concern to the Trustee was the possibility that any judgment
                                                                     13   awarded by the Court after the commencement of litigation would not be collectable.
                                                                     14   Here, since Province retained the General Assignment Fee in trust, the Trustee was not
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                                                                     15   concerned about the collectability of any judgment. However, there was no assurance
                                                                     16   that the Trustee would prevail in recovering the disputed portion of the fee in the first
                                                                     17   instance. And even if the Trustee was successful, questions remained regarding the
                                                                     18   timing of any recovery of a judgment from Province, since it almost certainly would
                                                                     19   appeal any adverse ruling. Therefore, even if the Trustee prevailed in recovering a
                                                                     20   portion of the General Assignment Fee, there remained the concern of the timing of
                                                                     21   recovery. Hence, the Trustee was required to factor into his decision the likelihood of
                                                                     22   recovering on a judgment, especially when weighed against the continuing administrative
                                                                     23   costs that would need to be incurred to obtain a judgment.
                                                                     24                   C.     The Complexity of the Litigation and the Expense,
                                                                     25                          Inconvenience and Delay Necessarily Attending It
                                                                     26                   The rationale behind public policy favoring pre-trial settlements is that
                                                                     27   litigation, depending upon its complexity, can occupy a court’s docket for years on end,
                                                                     28   depleting the resources of the parties and the taxpayers while rendering meaningful relief


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                                                                      1   increasingly elusive. In a bankruptcy context, such litigation costs can be particularly
                                                                      2   burdensome on the bankruptcy estate given the financial instability of the estate. See In
                                                                      3   re Grau, 267 B.R. 896 (Bankr. S.D. Fla. 2001). Here, the complexity of insuring collection
                                                                      4   of a judgment, assuming the Trustee prevailed, dictated that the Trustee seek a path
                                                                      5   towards settlement. The legal and factual issues raised in an anticipated adversary
                                                                      6   proceeding would be factually complex, contested, and would be extremely time
                                                                      7   consuming and costly for the estate to prosecute and defend through possible appeal.
                                                                      8                   Moreover, the chapter 7 case has been pending on the court’s docket for
                                                                      9   more than two years. If the Trustee was forced to file and then prosecute the action to
                                                                     10   recover the disputed portion of the General Assignment Fee, it is possible that at least
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                                                                     11   one more year would pass before any judgment was rendered. As noted, it is also
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                                                                     12   possible that any judgment obtained by the Trustee would be the subject of an appeal
                                                                     13   and further litigation for years to come. During this time, administrative fees and costs
                                                                     14   would continue to escalate. As a result, the Trustee’s decision to put an end to the
SulmeyerKupetz, A




                                                                     15   dispute with Province will benefit the estate and creditors alike.
                                                                     16                   D.    The Paramount Interest of Creditors
                                                                     17                   The paramount interest of creditors which a bankruptcy court must consider
                                                                     18   in deciding whether to approve a proposed compromise, generally reflects not only the
                                                                     19   desire of creditors to obtain the maximum possible recovery, but also their competing
                                                                     20   desire that the recovery should occur in the least amount of time possible. See In re
                                                                     21   Marples, 266 B.R. 202, 206 (Bankr. D. Idaho 2001); In re Lake City RV, Inc., 226 B.R.
                                                                     22   241, 243-44 (Bankr. D. Idaho 1998). Here, the estate is not in the position to fund
                                                                     23   lengthy, difficult, and uncertain litigation. The settlement resolves the competing and
                                                                     24   existing claims between the parties in a manner meant to avoid further administrative
                                                                     25   expenses. The settlement also will facilitate the distribution of assets in an orderly
                                                                     26   fashion in a manner which will allow the chapter 7 case to be timely administered.
                                                                     27                   As noted earlier, generally, a court should approve a proposed settlement
                                                                     28   so long as it is above “the lowest point in the range of reasonableness”, giving deference


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                                                                      1   to a trustee’s reasonable business judgment. See In re Receivership Estate of Indian
                                                                      2   Motorcycle Mfg., Inc., 299 B.R. 8, 21 (D. Mass. 2003) (“The court may give substantial
                                                                      3   deference to the business judgment of a bankruptcy trustee when deciding whether to
                                                                      4   approve a settlement”). Since the Agreement adds value to the estate, the settlement far
                                                                      5   exceeds that threshold standard, and should be approved.
                                                                      6                   In sum, the settlement with Province prevents any further expenditure of
                                                                      7   time and legal fees in disputing the General Assignment Fee, will result in a substantial
                                                                      8   increase in dividends to other similarly situated creditors, and does not fall below the
                                                                      9   lowest point in the range of reasonableness. As such, the Trustee believes that the
                                                                     10   Agreement is reasonable and should be approved by the Court.
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                                                                     11                                                 V.
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                                                                     12                                          CONCLUSION
                                                                     13                   Based on the foregoing, the Trustee respectfully requests that the Court
                                                                     14   grant the Motion in its entirety, approve the Agreement, and for such other and further
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                                                                     15   relief as the Court deems appropriate under the circumstances.
                                                                     16   DATED: February 26, 2020                SulmeyerKupetz
                                                                                                                  A Professional Corporation
                                                                     17

                                                                     18

                                                                     19                                           By: /s/ Daniel A. Lev
                                                                                                                      Daniel A. Lev
                                                                     20                                               Attorneys for Howard M. Ehrenberg, Chapter 7
                                                                                                                      Trustee
                                                                     21

                                                                     22

                                                                     23

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                                                                      1                         DECLARATION OF HOWARD M. EHRENBERG
                                                                      2                   I, Howard M. Ehrenberg, declare:
                                                                      3                   1.    I am an attorney at law duly admitted to practice before this Court
                                                                      4   and am the duly appointed, qualified, and acting chapter 7 trustee for the estate of the
                                                                      5   debtor Kandy Kiss of California, Inc. (the “Debtor”). Each of the facts contained in this
                                                                      6   declaration is based on personal knowledge and, if called as a witness, I could and would
                                                                      7   competently testify thereto under oath.
                                                                      8                   2.    Through my “Chapter 7 Trustee’s Motion for Order Authorizing
                                                                      9   Compromise of Controversy Re Province, Inc. Pursuant to Rule 9019 of the Federal
                                                                     10   Rules of Bankruptcy Procedure; Memorandum of Points and Authorities; Declaration of
  Professional Corporation




                                                                     11   Howard M. Ehrenberg in Support Thereof” (the “Motion”), I seek, among other things, an
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                                                                     12   order authorizing and approving, pursuant to Rule 9019(a) of the Federal Rules of
                                                                     13   Bankruptcy Procedure, and Local Bankruptcy Rule 9013, that certain “Settlement
                                                                     14   Agreement and Mutual General Release” (the “Agreement”) by and between me, in my
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                                                                     15   capacity as trustee, on the one hand, and Province, Inc., a Nevada corporation
                                                                     16   (“Province”), on the other hand, pursuant to which Province and I have agreed to
                                                                     17   compromise the disputes between the parties. In sum, according to the Agreement,
                                                                     18   Province shall pay the estate the total sum of $100,000 from the $346,350.33 fee
                                                                     19   Province contends it earned and is entitled to retain pursuant to the terms of the general
                                                                     20   assignment between Province and the Debtor. A true and correct copy of the Agreement
                                                                     21   is attached hereto as Exhibit “A” and incorporated herein by reference.
                                                                     22                   3.    After my appointment as trustee, I learned that, on January 16, 2017,
                                                                     23   prior to the commencement of an involuntary petition against the Debtor, the Debtor
                                                                     24   executed an “Assignment for the Benefit of Creditors” (the “General Assignment”) in favor
                                                                     25   of Province, as assignee, dated January 16, 2017. The next day, Province and Zita
                                                                     26   Apparel, Inc., a California corporation (“Zita”) entered into that certain “Asset Purchase
                                                                     27   Agreement” (the “Zita Purchase Agreement”), pursuant to which, among other things, Zita
                                                                     28   acquired certain assets of the Debtor’s assignment estate for the total purchase price of


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                                                                      1   $350,000. Province contends that, pursuant to the terms of general assignment
                                                                      2   documents, it earned a fee of $346,350.33 (the “General Assignment Fee”).
                                                                      3                   4.   After investigating and analyzing the General Assignment documents
                                                                      4   and the Zita transaction, I determined that there were grounds to recover a portion of the
                                                                      5   Province General Assignment Fee. However, rather than commence a formal adversary
                                                                      6   proceeding, Province and I engaged in negotiations in an effort to resolve my concerns
                                                                      7   with respect to the fee. As a result of these discussions, Province and I entered into the
                                                                      8   Agreement according to which Province shall pay the estate $100,000 of the $346,350.33
                                                                      9   being held by Province. The parties will also exchange limited releases. I now seek
                                                                     10   approval of the compromise embodied in the Agreement, as it is my belief that the
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                                                                     11   settlement satisfies each of the prerequisites adopted by the Ninth Circuit.
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                                                                     12                   5.   Specifically, I contend, without limitation, that based on the limited
                                                                     13   amount of services Province provided, and the subsequent series of events leading to my
                                                                     14   appointment, Province was not entitled to an earned fee of $346,350.33. However,
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                                                                     15   Province disputes my contentions and asserts that the General Assignment Fee is
                                                                     16   contractual in nature, is reasonable and appropriate based on the services rendered by
                                                                     17   Province as assignee, and the fee was accurately calculated according to the terms of
                                                                     18   the General Assignment documents. While I was confident in my position, given the
                                                                     19   defenses being asserted by Province, the costs of commencing and prosecuting an
                                                                     20   action through trial would be cost-prohibitive.
                                                                     21                   6.   In light of the fact that the estate will receive significant funds through
                                                                     22   the settlement, it cannot be said that I have not acted in the best interests of the estate.
                                                                     23   This settlement will benefit the estate and the remaining creditors and will end a
                                                                     24   potentially costly contested matter.
                                                                     25                   7.   Of obvious concern to me was the possibility that any judgment
                                                                     26   awarded by the Court after the commencement of litigation would not be collectable.
                                                                     27   Here, since Province retained the General Assignment Fee in trust, I was not concerned
                                                                     28   about the collectability of any judgment. However, there was no assurance that I would


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                                                                      1   prevail in recovering the disputed portion of the fee in the first instance. And even if I was
                                                                      2   successful, questions remained regarding the timing of any recovery of a judgment from
                                                                      3   Province, since it almost certainly would appeal any adverse ruling. Therefore, even if I
                                                                      4   prevailed in recovering a portion of the General Assignment Fee, there remained the
                                                                      5   concern of the timing of recovery. Hence, I was required to factor into my decision the
                                                                      6   likelihood of recovering on a judgment, especially when weighed against the continuing
                                                                      7   administrative costs that would need to be incurred to obtain a judgment.
                                                                      8                   8.    In addition, the complexity of insuring collection of a judgment,
                                                                      9   assuming I prevailed, dictated that I seek a path towards settlement. The legal and
                                                                     10   factual issues raised in an anticipated adversary proceeding would be factually complex,
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                                                                     11   contested, and would be extremely time consuming and costly for the estate to prosecute
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                                                                     12   and defend through possible appeal. Moreover, the chapter 7 case has been pending on
                                                                     13   the court’s docket for more than two years. If I was forced to file and then prosecute the
                                                                     14   action to recover the disputed portion of the General Assignment Fee, it is possible that
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                                                                     15   at least one more year would pass before any judgment was rendered. It is also possible
                                                                     16   that any judgment obtained by the estate would be the subject of an appeal and further
                                                                     17   litigation for years to come. During this time, administrative fees and costs would
                                                                     18   continue to escalate. As a result, my decision to put an end to the dispute with Province
                                                                     19   will benefit the estate and creditors alike.
                                                                     20                   9.    Finally, the estate is not in the position to fund lengthy, difficult, and
                                                                     21   uncertain litigation. The settlement resolves the competing and existing claims between
                                                                     22   the parties in a manner meant to avoid further administrative expenses. The settlement
                                                                     23   also will facilitate the distribution of assets in an orderly fashion in a manner which will
                                                                     24   allow the chapter 7 case to be timely administered.
                                                                     25                   10.   In sum, the settlement with Province prevents any further
                                                                     26   expenditure of time and legal fees in disputing the General Assignment Fee, will result in
                                                                     27   a substantial increase in dividends to other similarly situated creditors, and does not fall
                                                                     28


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
333 South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE'S MOTION FOR ORDER
AUTHORIZING COMPROMISE OF CONTROVERSY RE PROVINCE, INC. PURSUANT TO RULE 9019 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATION OF HOWARD M. EHRENBERG IN SUPPORT THEREOF will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 26, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Jessica L Bagdanov on behalf of Debtor Kandy Kiss of California, Inc.
jbagdanov@bg.law, ecf@bg.law

Bernard D Bollinger, Jr on behalf of Cross Defendant Secret Charm, LLC, Adir Haroni, Cathy King, Lauri Hamer and
Melissa Krupa
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Peter M Bransten on behalf of Other Professional Courtesy NEF
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Peter M Bransten on behalf of Petitioning Creditor Mauricio Betancur
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Lynn Brown on behalf of Creditor American Express Travel Related Services Company, Inc.
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Russell Clementson on behalf of U.S. Trustee United States Trustee (SV)
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Cynthia M Cohen on behalf of Plaintiff Mauricio Betancur
ccohen@brownwhitelaw.com

Howard M Ehrenberg (TR)
ehrenbergtrustee@sulmeyerlaw.com, ca25@ecfcbis.com;C123@ecfcbis.com;hehrenberg@ecf.inforuptcy.com

Beth Gaschen on behalf of Debtor Kandy Kiss of California, Inc.
bgaschen@wgllp.com, kadele@wgllp.com;vrosales@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com

DAL 2616923v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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Matthew A Lesnick on behalf of Petitioning Creditor RM Global Textile Inc.
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Matthew A Lesnick on behalf of Petitioning Creditor Shol Inc
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Matthew A Lesnick on behalf of Petitioning Creditor Texking Trading Ltd
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor Tu Pacific, LLC
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Matthew A Lesnick on behalf of Petitioning Creditor Ch Moon
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Matthew A Lesnick on behalf of Petitioning Creditor Christopher Clifford
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor David Shi
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor Elsie Qian
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor Grace Wang
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor Mauricio Betancur
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Matthew A Lesnick on behalf of Petitioning Creditor Thao Uyen
matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

Daniel A Lev on behalf of Other Professional Courtesy NEF
dlev@sulmeyerlaw.com, asokolowski@sulmeyerlaw.com;dlev@ecf.inforuptcy.com;dwalker@sulmeyerlaw.com

Daniel A Lev on behalf of Trustee Howard M Ehrenberg (TR)
dlev@sulmeyerlaw.com, asokolowski@sulmeyerlaw.com;dlev@ecf.inforuptcy.com;dwalker@sulmeyerlaw.com

Lloyd S Mann on behalf of Other Professional Courtesy NEF
lmann@mannzarpas.com

Lloyd S Mann on behalf of Petitioning Creditor Kucuhead
lmann@mannzarpas.com

Lloyd S Mann on behalf of Petitioning Creditor Mauricio Betancur
lmann@mannzarpas.com

Susan I Montgomery on behalf of Creditor Thomas R. Akin
susan@simontgomerylaw.com,
assistant@simontgomerylaw.com;simontgomerylawecf.com@gmail.com;montgomerysr71631@notify.bestcase.com

Kurt Ramlo on behalf of Interested Party Courtesy NEF
kr@lnbyb.com, kr@ecf.inforuptcy.com

Howard D Ruddell on behalf of Creditor Target Corporation
, lorena.lazheztter@faegrebd.com

Robyn B Sokol on behalf of Interested Party Moustris Entertainment, Inc.
ecf@bg.law, rsokol@bg.law

Robyn B Sokol on behalf of Interested Party Caroline Ann Gilchrist
ecf@bg.law, rsokol@bg.law

United States Trustee (SV)
ustpregion16.wh.ecf@usdoj.gov
                                                                                         Service information continued on attached page.



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2. SERVED BY UNITED STATES MAIL:
On (date) February 26, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Office of the United States Trustee
915 Wilshire Boulevard, Suite 1850
Los Angeles, CA 90017
                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 26, 2020, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Victoria S. Kaufman
U.S. Bankruptcy Court
Bin on 1st Floor outside entry to Intake Section
21041 Burbank Blvd.
Woodland Hills, CA 91367

                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 February 26, 2020                         Denise Walker                                       /s/Denise Walker
 Date                                      Printed Name                                        Signature




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